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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION
                           CIVIL ACTION NO. 6:16-CV-109-GFVT

DR. JAMES TAYLOR                                     )
MRS. DINAH TAYLOR                                    )
                                                     )       Electronically Filed
                      PLAINTIFFS                     )
V                                                    )
                                                     )
UNIVERSITY OF                                        )
THE CUMBERLANDS                                      )
                                                     )
                      DEFENDANT                      )

PLAINTIFFS’ MOTION TO EXCLUDE EXPERT TESTIMONY OF PHILLIP BLOUNT

       Defendants have designated Mr. Phillip Blount as an expert witness and have produced his

report of March 19, 2018, (the “Blount Litigation Report”) purportedly to comply with FRCP

26(a)(2) (“Disclosure of Expert Testimony”) and this Court’s Scheduling Order. Because it was

intended only to rebut Mr. Smith’s testimony, now that Mr. Smith is not being called as Plaintiffs’

expert, the opinions expressed in the Blount Litigation Report are irrelevant.1 There are no other

opinions Mr. Blount can render.

       The civil rule provides the following

       (2) Disclosure of Expert Testimony.

       (A) In General. In addition to the disclosures required by Rule 26(a)(1), a party
       must disclose to the other parties the identity of any witness it may use at trial to
       present evidence under Federal Rule of Evidence 702, 703, or 705.

       (B) Witnesses Who Must Provide a Written Report. Unless otherwise stipulated or
       ordered by the court, this disclosure must be accompanied by a written report—
       prepared and signed by the witness—if the witness is one retained or specially
       employed to provide expert testimony in the case or one whose duties as the party's
       employee regularly involve giving expert testimony. The report must contain:


1
 Defendant has already agreed not to mention before the jury the Plaintiffs’ decision not to call
Mr. Smith.

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       (i) a complete statement of all opinions the witness will express and the basis
       and reasons for them;

       (ii) the facts or data considered by the witness in forming them;

       (iii) any exhibits that will be used to summarize or support them;

       (iv) the witness's qualifications, including a list of all publications authored in the
       previous 10 years;

       (v) a list of all other cases in which, during the previous 4 years, the witness testified
       as an expert at trial or by deposition; and

       (vi) a statement of the compensation to be paid for the study and testimony in the
       case.

FRCP 26(a)(2) (Emphasis Supplied.)

       The first sentence of the Blount Litigation Report (which is attached as Exhibit A) makes

clear what its purpose was:

       I have been asked in this case to render a rebuttal opinion on the Expert Witness
       Report of A. W. (Pete) Smith, Jr., dated February 1, 2018, as it relates to the
       reasonableness of the remuneration purportedly provided to Dr. James H. Taylor,
       the former President of the University of the Cumberlands, through a disputed
       agreement dated April 19, 2012.

       A summary of the opinions Mr. Blount is prepared to render at trial is contained in the

Conclusion of the Blount Litigation Report:

       Conclusion

       It is my opinion that Mr. Smith's determination that the Disputed Agreement
       "represents a reasonable and appropriate level of remuneration" is highly
       questionable. Mr. Smith did not rely on appropriate data to support his conclusion
       that there was a $3.4 million shortfall in Dr. Taylor's total remuneration over the 35
       years of his presidency. Therefore, Mr. Smith's report does not reliably show that
       the future payments to Dr. and Mrs. Taylor under the Disputed Agreement are
       reasonable because of a documented shortfall in Dr. Taylor's prior compensation.
       In other words, the data does not support a finding that the compensation allegedly
       to be paid to Dr. and Mrs. Taylor under the Disputed Agreement was neither
       excessive nor unreasonable within the meaning of the Intermediate Sanctions
       Regulations.




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Since Mr. Smith will not testify at trial, these opinions are no longer relevant and are not intelligible

without reference to the Smith report.

          The question presented here is not one of whether this motion is filed too late.2 The

question is whether Mr. Blount will be allowed to express any opinions not expressed in his

Litigation Report. FRCP 26(1)(2) answers that question with a clear no. That being the case and

given that the Smith report is no longer a target, there is nothing for Mr. Blount to testify to in

Defendant’s case. Of course, for the reasons made clear in Plaintiffs’ response (Doc#.136) to

Defendant’s objections to the use of Mr. Blount’s Deposition (Doc # 133), Mr. Blount’s testimony

about his January 6, 2016 letter to University counsel Jamie Jordon is critical to Plaintiff’s case.


                                                Respectfully Submitted,

                                                /s/ D. Duane Cook
                                                D. Duane Cook
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                                                Cook & Watkins, PLC
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 9, 2019, a copy of the foregoing was filed with the Clerk

of Court via the Court’s ECF system, which will serve notification of such filing on all counsel of

record.

                                                /s/ D. Duane Cook
                                                Counsel for Plaintiffs


2
  Mr. Blount’s deposition testimony about his first report is so favorable to Plaintiffs’ case that
counsel had not really focused on the content of the Blount Litigation Report until counsel for
Defendant raised the whole issue of Mr. Blount’s testimony during this past Monday’s Pre-Trial
Conference.

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